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13                              UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                   SAN FRANCISCO DIVISION

16

17   ANIBAL RODRIGUEZ, et al. individually and on     Case No. 3:20-CV-04688-RS
     behalf of all others similarly situated,
18                                                    GOOGLE LLC’S STATEMENT IN
                                 Plaintiff,           SUPPORT OF MOTION TO SEAL
19
            vs.                                       PORTIONS OF CLASS
20                                                    CERTIFICATION & DAUBERT
     GOOGLE LLC,                                      BRIEFING (DKTS. 314 & 321)
21
                                 Defendant.           (CIVIL LOCAL RULE 79-5)
22
                                                      Judge:        Hon. Richard Seeborg
23
                                                      Courtroom: 3, 17th Floor
24                                                    Action Filed: July 14, 2020
                                                      Trial Date: Not Set
25

26

27

28
                  GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
                      CLASS CERTIFICATION & DAUBERT BRIEFING (DKTS. 314 & 321)
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 1   I.      INTRODUCTION

 2           Pursuant to Civil Local Rule 79-5, Defendant Google LLC submits this statement of
 3   reasons in support of sealing select portions of the Parties’ Class Certification and Daubert
 4   Briefing pursuant to this Court’s August 15, 2023 Order (Dkt. 321) and in response to Plaintiffs’
 5   Administrative Motion to File Under Seal Portions of Plaintiffs’ Motion for Class Certification
 6   (Dkt. 314). As further outlined below, the Parties seek to seal portions of: Plaintiffs’ Motion for
 7   Class Certification (“Motion”) (Dkt. 315) and its corresponding exhibits and attached expert
 8   reports, Plaintiffs’ Trial Plan (Dkt. 315-1), Google’s Opposition to Plaintiffs’ Motion
 9   (“Opposition”) (Dkt. 323), Plaintiffs’ Reply ISO Motion for Class Certification (“Reply”) (Dkt.
10   333), Google’s Motion to Exclude Opinion of Plaintiffs’ Damages Expert Michael J. Lasinski
11   (“Daubert Motion”) (Dkt. 326), and Plaintiffs’ Opposition to Google’s Daubert Motion (“Daubert
12   Opposition”) (Dkt. 331), and each of these briefs’ corresponding exhibits. See Decl. of Mark Mao
13   ISO Motion (Dkt. 315-14); Decl. of E. Santacana ISO Opposition (Dkt. 327); Decl. of E.
14   Santacana ISO Google’s Daubert Motion (Dkt. 328); Decl. of Mark Mao ISO Daubert Opposition
15   (Dkt. 331-1); and Decl. of Mark Mao ISO Reply (Dkt. 333-1).
16            Google has narrowed the material it seeks to keep under seal. Google only seeks to seal
17   select lines, code names, and email addresses in 43 of the 94 exhibits submitted with Plaintiffs’
18   Motion for Class Certification and the Daubert briefing. There are only 4 documents it seeks to
19   seal in their entirety.
20            Because courts within the Ninth Circuit evaluate a request to seal documents that are more
21   than tangentially related to the underlying cause of action under a “compelling reasons” standard,
22   the “compelling reasons” standard applies. Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092,
23   1098–1099 (9th Cir. 2016). The material identified by Google for sealing is all commercially
24   sensitive business information that falls into four categories that each deserve protection under the
25   compelling reasons standard. The materials consist of: (1) product design, performance, and
26   improvement deliberations and presentations; (2) internal studies and projections; (3) non-public
27

28                                                     1
                  GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
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 1   documents detailing the technical operation of Google’s internal systems; and (4) employee

 2   personally identifiable information.

 3          None of the information that Google seeks to keep under seal is necessary to the public’s

 4   understanding of the underlying dispute. Google’s Motion to Seal should be granted with respect

 5   to the limited material identified in Google’s accompanying [Proposed] Order.

 6   II.   DISCUSSION
 7          “Historically, courts have recognized a ‘general right to inspect and copy public records

 8   and documents, including judicial records and documents.’” Kamakana v. City & Cnty. Of

 9   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435

10   U.S. 589, 597 & n.7 (1978)). Parties seeking to seal judicial records relating to dispositive

11   motions bear the burden of overcoming this presumption of access by demonstrating “compelling

12   reasons.” Id. at 1180. Courts within the Ninth Circuit have concluded that this “compelling

13   reasons” standard applies to “motions to seal documents relating to class certification” and that the

14   same standard may apply to documents attached to a Daubert motion where it is able to

15   significantly affect the disposition of the issues in a case. See Adtrader, Inc. v. Google LLC, No.

16   17-CV-07082-BLF, 2020 WL 6391210, at *2 (N.D. Cal. Mar. 24, 2020); Ctr. for Auto Safety, 809

17   F.3d at 1100.

18          Courts find compelling reasons sufficiently outweigh the public’s interest in disclosure,

19   where, as here, records disclosing business information “might harm a litigant’s competitive

20   standing” or “become a vehicle for improper purposes.” In re Electronic Arts, Inc., 298 F. App’x

21   568, 569 (9th Cir. 2008) (quoting Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 598 (1978).

22         A.        Commercially sensitive business information
23         Google seeks to seal commercially sensitive business information in 19 of 37 exhibits

24   filed with Plaintiffs’ Motion, 7 out of 23 exhibits to Google’s Opposition, 1 out of 11 exhibits to

25   Plaintiffs’ Reply, 6 out of 10 exhibits to Google’s Daubert Motion and 7 out of 13 exhibits to

26   Plaintiffs’ Daubert Opposition. These materials, identified specifically in the declarations filed

27   concurrently herewith constitute: (1) product design, performance, and improvement deliberations

28                                                     2
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 1   and presentations; (2) internal studies and projections; (3) non-public documents detailing the

 2   technical operation of Google’s internal systems; and (4) employee personally identifiable

 3   information. As explained further below, these materials are categorically protectable and

 4   Google’s requested redactions are narrowly tailored such that no less restrictive means will

 5   maintain the appropriate level of confidentiality.

 6                 1.      Internal studies and projections (Exhibits in table below) Google seeks to
 7   seal internal studies and projections, including results of user studies and surveys, projected
 8   impacts of proposed product changes, user study procedures, long-term product plans and action
 9   items informed by targeted studies, sensitive revenue metrics and internal research documents with
10
     proprietary questions. See, e.g., Declaration of David Monsees
11
     (“Monsees Decl.”) ¶¶ 8, 11, and 17; Declaration of David Lam (“Lam Decl.”) ¶¶ 7, 17. These
12
     documents contain competitively sensitive material that Google does not disclose in its regular
13
     course of business. If the excerpts listed in the table below were disclosed, competitors could use
14
     the information to improve their own products to compete in comparable markets without having
15
     had to invest the time and resources Google did to acquire this insight. Id. Courts find this type of
16
     information to constitute business information that could harm a litigant’s competitive standing if
17
     disclosed and have ordered it sealed. See, e.g., Algarin v. Maybelline, LLC, No. 12CV3000 AJB
18
     (DHB), 2014 WL 690410, at *3 (S.D. Cal. Feb. 21, 2014) (sealing a study that contained
19
     consumer research, sales data, and product development plans because public disclosure “could
20
     result in improper use by business competitors seeking to replicate. . . [the party’s] business
21
     practices and circumvent the time and resources necessary in developing their own practices and
22
     strategies.”); Brown v. Brown, No. CV 13-03318 SI, 2013 WL 12400041, at *1 (N.D. Cal. Dec.
23
     30, 2013) (finding compelling reasons to seal information about “profits, losses, income,
24
     investments, and expenses” when disclosure would harm party's competitive standing); In re
25
     Electronic Arts, Inc., 298 F. App’x at 569.
26

27

28                                                        3
                 GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
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 1     Exhibit         Portion(s) to                        Basis for Sealing
         No.      Maintain Under Seal
 2   1 (Motion)   Entirety               Spreadsheet contains proprietary and confidential
                                         business information about Google’s user research
 3
                                         studies and findings. Includes non-public file-paths and
 4                                       internal identifiers for studies. Monsees Decl. ¶ 5-6.
     2 (Motion)   Sections highlighted   Presentation excerpt with competitively sensitive
 5                yellow in the          business information (a user study metrics and internal
                  unredacted document.   code names). Monsees Decl. ¶ 7
 6   5 (Motion)   Sections highlighted   Presentation excerpt with competitively sensitive
 7                yellow in the          business information (user study results). Monsees
                  unredacted document.   Decl. ¶ 8
 8   15           Sections highlighted   Presentation with competitively sensitive business
     (Motion)     yellow in the          information including sensitive revenue metrics,
 9                unredacted document.   product plans and action items informed by targeted
     6 (Daubert                          studies that are confidential and not shared in Google’s
10
     Opp.)                               ordinary course of business. Also includes various
11                                       internal code names and descriptions of internal projects
                                         that are still underway. Lam Decl. ¶ 7
12   42           Sections highlighted   Presentation with competitively sensitive business and
     (Motion)     yellow in the          proprietary information (user study procedures and
13                unredacted document.   business strategy). Monsees Decl. ¶ 12
14   54           Sections highlighted   Presentation with competitively sensitive business and
     (Motion)     yellow in the          proprietary information (user study metrics and
15                unredacted document.   analysis). Monsees Decl. ¶ 15
     55           Entirety               Internal research document with proprietary and
16   (Motion)                            confidential research questions regarding a highly
                                         sensitive internal project. Monsees Decl. ¶ 16
17
     65           Sections highlighted   Presentation with competitively sensitive business
18   (Motion)     yellow in the          information regarding the top apps that use Firebase that
                  unredacted document.   disclose internal strategic thinking not disclosed in the
19                                       regular course of business and litigation. Lam Decl. ¶ 8
     10           Sections highlighted   Excerpts from Google’s ROG responses containing
20   (Daubert     yellow in the          highly confidential and competitively sensitive business
     Motion)      unredacted document.   information including statistics, P&L and revenue data,
21
                                         and analyses of that data that are not compiled or
22                                       disclosed in Google’s regular course of business. Lam
                                         Decl. ¶ 17
23   3            Entirety               Internal document with competitively sensitive business
     (Opp.)                              information including confidential revenue metrics,
24                                       strategic deliberations regarding product goals and
25                                       changes and diagrams describing Google’s backend
                                         internal data flow. Lam Decl. ¶ 11
26   21           Sections highlighted   Excerpts from Google’s ROG responses containing
     (Opp.)       yellow in the          competitively sensitive business information including
27                unredacted document.   statistics, P&L and revenue data, and analyses of that
28                                               4
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 1                                             data that are not compiled or disclosed in Google’s
                                               regular course of business. Lam Decl. 16
 2
                   2.      Product design, performance, and improvement deliberations and
 3                         presentations (Exhibits and brief cites in table below)

 4          Google also seeks to seal exhibits that contain confidential, internal deliberations regarding
 5   product development, features, challenges, and business strategies. See, e.g., Monsees Decl. ¶¶ 18
 6   20. All of the information Google seeks to seal is competitively sensitive and not shared in
 7   Google’s regular course of business and should remain under seal. Disclosing it could cause
 8   Google competitive harm. For example, internal deliberations regarding product integration goals
 9   and related challenges and metrics related to user traffic for specific products, like those contained
10   in the exhibits listed in the table below, are exactly the kind of information that competitors could
11   use to enhance efficiencies of their own products at Google’s expense. Competitors could use the
12   sensitive business data that Google has invested time and resources in acquiring over the years to
13   mimic Google’s infrastructure to process user data and gain efficiencies Google has acquired over
14   years without having had to invest resources of their own. Monsees Decl. ¶ 19.
15          Courts regularly seal this type of information. See, e.g., Kumandan v. Google LLC, No.
16   19-CV-04286-BLF, 2023 WL 2189498, at *1 (N.D. Cal. Feb. 22, 2023) (sealing sensitive
17   proprietary and commercial information about the operation of Google Assistant, business
18   opportunities and risks, and details of Google's understanding of the profits or losses associated
19   with Google Assistant); Adtrader, Inc., 2020 WL 6391210, at *1 (finding compelling reasons to
20   seal confidential business material, marketing strategies, and product development plans that
21   could result in improper use by competitors); see also Algarin, 2014 WL 690410, at *3. As
22   further explained in the table below, Google seeks to seal precisely the type of information that
23   courts have previously sealed and has demonstrated compelling reasons for doing so here.
24     Exhibit        Portion(s) to                             Basis for Sealing
        No.        Maintain Under
25
                          Seal
26    7           Sections               Email thread with competitively sensitive business
      (Motion)    highlighted yellow     information regarding a non-public project pertaining to
27                in the unredacted      backend data logging processes and changes. Monsees Decl.
                  document.              ¶ 19
28                                                     5
                 GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
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 1    17          Sections               Competitively sensitive internal strategy discussions
      (Motion)    highlighted yellow     regarding product design. Monsees Decl. ¶ 9
 2                in the unredacted
                  document.
 3
      61          Sections               Competitively sensitive internal strategy discussions
 4    (Motion)    highlighted yellow     regarding Google’s consent structures, including non-public
                  in the unredacted      metrics, user research study data, and confidential internal
 5                document.              project names. Monsees Decl. ¶ 18
      69          Sections               Email thread with competitively sensitive business
 6    (Motion)    highlighted yellow     information regarding a non-public project pertaining to
 7                in the unredacted      backend data logging processes and changes. Monsees Decl.
                  document.              ¶ 19
 8    9           Sections               Internal meeting notes document with competitively sensitive
      (Daubert    highlighted yellow     business information including non-public revenue sources
 9    Opp.)       in the unredacted      and estimations, internal product goals and related metrics.
                  document.              Contains confidential technical details regarding how Google
10
                                         services work from the backend. Monsees Decl. ¶ 11
11    71          Sections               Competitively sensitive internal performance review that
      (Reply)     highlighted yellow     discloses internal deliberations and non-public details
12                in the unredacted      regarding Google’s strategic responses to specific regulatory
                  document.              actions. Monsees Decl. ¶ 20
13    5 (Dau-     Sections               Name of confidential and competitively sensitive internal
14    bert        highlighted yellow     revenue analysis performed by Google. Lam Decl. ¶ 23
      Opp.)       in the unredacted
15                document.
      7           Entirety               Internal document with highly confidential and proprietary
16    (Daubert                           information regarding highly sensitive features of Google’s
      Opp.)                              internal systems, including various types of Google’s internal
17                                       projects, identifiers and logs, and their proprietary
18                                       functionalities. Lam Decl. ¶ 21
                   3.      Non-public documents detailing the technical operation of Google’s
19                         internal systems (Exhibits and brief cites in table below)
20
            Google seeks to seal portions of the Parties’ expert reports and deposition transcripts
21
     discussing confidential and highly sensitive proprietary and commercial information about the
22
     operation of Google’s products, including its internal data repositories and storage infrastructure.
23
     These materials, referenced in the table below, also contain technical details about Google’s
24
     backend data flow, including information about the processes for data generation, bundling,
25
     consent checks, and storage decisions. Furthermore, they contain competitively sensitive
26
     information regarding Google’s understanding of its profits and losses and overall revenue
27

28                                                     6
                 GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
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 1   associated with its advertising products. Courts regularly seal this type of information. See, e.g.,

 2   Finjan, Inc. v. Proofpoint, Inc., No. 13-CV-05808-HSG, 2016 WL 7911651, at *2 (N.D. Cal. Apr.

 3   6, 2016) (sealing technical information in expert reports, deposition testimony, and internal

 4   company documents); Kumandan, 2023 WL 2189498, at *2 (sealing proprietary information

 5   regarding the operation of Google Assistant); Adtrader, Inc., 2020 WL 6391210, at *2 (sealing

 6   information revealing capabilities of Google’s systems).

 7          Revealing the specific information contained in these exhibits presents a serious risk of

 8   irreparable harm to Google. This information was acquired as a result of innumerable hours of

 9   extensive internal research, analysis, and engineering. If proprietary information regarding GA

10   for Firebase’s backend data flow and infrastructure architecture is disclosed, competitors could

11   infer how the GA for Firebase product functions, and how it was developed. Lam Decl. ¶ 10.

12   Competitors could mimic Google’s approach to data processing, organization, and storage to

13   unfairly compete with Google’s product offerings. Id.

14          The risk is particularly present here because the Parties’ expert reports, briefing, and

15   exhibits compile in one place the backend technical details that describe the flow of data from app

16   developer customers to and within Google’s storage repositories in a step-by-step manner,

17   including the code names for the repositories that receive and process user data. A competitor

18   could take these expert reports and understand the entire structure of Google’s GA for Firebase

19   data processing system—something that Google has taken significant time to develop, refine, and

20   maintain. In addition to improper use of this information by competitors, if a malicious actor

21   wanted to improperly access Google’s systems for theft or other improper purposes, these

22   documents would be a roadmap that would allow them to more readily evade detection and find

23   Google’s proprietary documents, information, and code. It is, therefore, very important that this

24   information not be revealed outside of Google. Id. at ¶¶ 5, 29.

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28                                                     7
                 GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
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 1    Exhibit         Portion(s) to Maintain                     Basis for Sealing
       No.                 Under Seal
 2
     10             Sections highlighted       Presentation discussing highly sensitive,
 3
     (Motion)       yellow in the unredacted   confidential, and proprietary information regarding
 4                  document.                  Google’s internal infrastructure around data
                                               classification, logging, and protection. Lam Decl. ¶
 5                                             4
     11             Sections highlighted       Deposition excerpt with highly sensitive and
 6   (Motion)       yellow in the unredacted   confidential information about proprietary consent
 7                  document.                  checking processes within Google’s storage
                                               infrastructure. Monsees Decl. ¶ 10
 8   43             Sections highlighted       Google’s ROG response with proprietary
     (Motion)       yellow in the unredacted   information concerning internal log data fields and
 9                  document.                  naming conventions. Monsees Decl. ¶ 13
     56             Sections highlighted       Deposition excerpt with highly sensitive and
10
     (Motion)       yellow in the unredacted   confidential information about proprietary consent
11                  document.                  checking processes within Google’s storage
                                               infrastructure. Monsees Decl. ¶ 10
12   57             Sections highlighted       Email thread with highly sensitive internal logging
     (Motion)       yellow in the unredacted   language/code. Monsees Decl. ¶ 17
13                  document.
14   2 (Opp.)       Sections highlighted       Google’s ROG response with highly sensitive and
                    yellow in the unredacted   confidential information about proprietary consent
15                  document.                  checking processes within Google’s storage
                                               infrastructure. Lam Decl. ¶ ¶9-10
16   5 (Opp.)       Sections highlighted       Three sentences with proprietary information
                    yellow in the unredacted   concerning internal log data fields and naming
17
                    document.                  conventions. Lam Decl. ¶ 12
18   6 (Opp.)       Sections highlighted       Expert report with highly sensitive and confidential
     7 (Daubert     yellow in the unredacted   information about proprietary consent checking
19   Motion)        document.                  processes within Google’s storage infrastructure.
                                               Lam Decl. ¶ 13
20   6-A (Opp.)     Sections highlighted       Appendix to expert report with backend data
     8 (Daubert     yellow in the unredacted   regarding Google’s data storage. Lam Decl. ¶ 14
21
     Motion)        document.
22   9 (Opp.);      Sections highlighted       Deposition transcript with highly sensitive and
     5 (Daubert     yellow in the unredacted   confidential information regarding sensitive features
23   Motion)        document.                  of Google’s internal systems and operations,
                                               including various types of Google’s internal
24                                             projects, identifiers, data signals, and logs, and their
25                                             proprietary functionalities. Lam Decl. ¶ 28
     11 (Opp.);     Sections highlighted       Deposition transcript with competitively sensitive
26   1 (Daubert     yellow in the unredacted   and confidential information regarding Google’s
     Motion); 1     document.                  internal revenue analyses and related non-public
27                                             metrics. Lam Decl. ¶ 18
28                                                 8
                  GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
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 1    (Daubert
      Opp.)
 2    14 (Opp.)      Sections highlighted          Google’s ROG response with highly sensitive and
                     yellow in the unredacted      confidential information about proprietary consent
 3
                     document.                     checking processes within Google’s storage
 4                                                 infrastructure. Lam Decl. ¶ 15
      18 (Opp.)      Sections highlighted          Internal confidential storage name. Lam Decl. ¶ 29
 5                   yellow in the unredacted
                     document.
 6    19 (Opp.)      Sections highlighted          Expert report with competitively sensitive and
 7    3 (Daubert     yellow in the unredacted      confidential information regarding Google’s internal
      Motion)        document.                     revenue analyses and related non-public metrics.
 8    3 Daubert                                    Lam Decl. ¶ 24
      Opp.)
 9    70 (Reply)     Sections highlighted    Discussing sensitive and confidential internal data
                     yellow in the unredactedidentifiers and details about the number and types of
10
                     document.               data logs within Google. Lam Decl. ¶ 12
11    72 (Reply)     Sections highlighted    Deposition transcript with highly sensitive and
                     yellow in the unredactedconfidential information regarding sensitive features
12                   document.               of Google’s internal systems and operations,
                                             including various types of Google’s internal
13                                           projects, identifiers, data signals, and logs, and their
14                                           proprietary functionalities. Lam Decl. ¶ []
      Expert      Sections highlighted       Expert report with highly sensitive and confidential
15    Report:     yellow in the unredacted   information about proprietary consent checking
      Jonathan    document.                  processes within Google’s storage infrastructure.
16    Hochman                                Lam Decl. ¶¶ 26-27
      Expert      Sections highlighted       Expert report with competitively sensitive and
17
      Report:     yellow in the unredacted   confidential information regarding Google’s internal
18    Michael     document.                  revenue analyses and related non-public metrics.
      Lasinski                               Lam Decl. ¶¶ 18-23
19         B.    References to Internal Code Names
20          Google seeks to seal internal database and project names within Exhibits 1, 2, 5, 7, 10, 11,
21   15, 17, 42, 43, 54, 55, 56, 57, 59, 61, 65, 68 and 69 to the Motion, Exhibits 2, 3, 5, 8, 13, 14, and
22   21 to the Opposition, Exhibit 71 to the Reply, Exhibits 1, 3, 5, 7, 8, and 10 to the Daubert Motion,
23   and Exhibits 1, 5, and 9, and Appendices E, G and I to the Daubert Opposition. Courts routinely
24   seal this type of information because it would place companies at increased risk of cyber security
25   threats if certain internal names became public. See, e.g., Apple Inc. v. Samsung Elecs. Co., No.
26   11–CV–01846 LHK (PSG), 2012 WL 4120541, at *2 (N.D. Cal. Sept. 18, 2012) (sealing “Apple’s
27   internal code names” for its projects); Bohannon v. Facebook, Inc., No. 12-cv-01894-BLF, 2019
28                                                      9
                   GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
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 1   WL 188671, at *7 (N.D. Cal. Jan. 14, 2019) (sealing internal task names, URLs, and other

 2   sensitive data regarding internal classification systems).

 3           This Court has previously sealed the internal names in Exhibits 55 and 68 to the Motion,

 4   Exhibits 2 and 13 to the Opposition to the Motion, Exhibit 71 to the Reply in Support of the

 5   Motion and others similar to the ones Google now seeks to keep under seal. See, e.g., Dkt. 223

 6   (2/10/2022 Order Granting in Part Mot. to Seal); Dkt. 208 (1/20/2022 Discovery Order) (same);

 7   Dkt. 184, at ¶ 3 (12/1/2021 Discovery Order). Sealing the internal names Google seeks to seal

 8   here is consistent with those rulings.

 9          C.     Non-Public Email Addresses
10          Google seeks to redact the non-public employee email addresses contained within Exhibits

11   1, 2, 7, 15, 42, 54, 55, 57, 59, 61, 65, 68, 69 to the Motion, Exhibits 3, 8 to the Opposition to the

12   Motion, Exhibit 71 to the Reply, Exhibit 8 to the Daubert Motion and the expert report of

13   Jonathan Hochman. Courts routinely seal employee email addresses. See, e.g., E. & J. Gallo

14   Winery v. Instituut Voor Landbouw-En Visserijonderzoek, No. 1:17-cv-00808-DAD-EPG, 2018

15   WL 4961606, at *2 (E.D. Cal. Oct. 12, 2018) (sealing employee email address under compelling

16   reason standard); Music Grp. Macao Com. Offshore Ltd. v. Foote, No. 14–cv–03078–JSC, 2015

17   WL 3993147, at *8, 10 (N.D. Cal. June 30, 2015) (finding compelling reasons to seal employee

18   names and roles of employees). Here, Google has a compelling interest in protecting its

19   employees’ email addresses because those employees’ privacy would be placed at risk if their

20   confidential email addresses were to be filed publicly. See Lam Decl. ¶ 30. Google does not

21   publish employee email addresses. Id.

22   III.   CONCLUSION

23          For the reasons set forth above, Google respectfully requests that the Court seal the limited
24   information identified herein and in the accompanying [Proposed] Order.
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                 GOOGLE LLC’S STATEMENT IN SUPPORT OF MOTION TO SEAL PORTIONS OF
                     CLASS CERTIFICATION & DAUBERT BRIEFING (DKTS. 314 & 321)
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